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                   EXHIBIT 2
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                                                               Exhibit A

                Name             Opt-In      Total                    Name             Opt-In      Total                Name           Opt-In      Total
          THIBEAU,	AUDREY          0       $122.70            HOWARD,	VICTOR	D           1        $71.90           WOLNIK,	PAUL	J        0        $29.60
      LOPEZ	PEREZ,	ENRIQUE         0       $343.73         ROGERS,	SHAQUANEICE	R         0        $19.05            NIETO,	SERGIO        0       $133.84
      LOPEZ	SANCHEZ,	IVAN	D        0         $0.00            NORRIS	JR,	LEEARTIS        0       $144.57            NIETO,	MARIO         0       $427.43
         ADAN	LOPEZ,	LUZ	E         0       $322.17             PERKINS,	JEREMY	F         0        $74.91       TERRAZAS,	SERGIO	M        0        $41.71
     VASQUEZ,	EMMANUEL	U           0        $79.91               BAHENA,	JAVIER          0       $112.77       FERNANDEZ,	ANDRES         0       $263.42
RODRIGUEZ	MANCILLAS,	ERNESTO       0       $888.23            SIMMONS,	TIMOTHY           0         $0.00         STELLA,	MICHAEL	C       1       $386.50
             THANG,	KHUA           0         $5.85                RUBIO,	CESAR           0      $1,087.55          BERRY,	KANDY	A        0        $67.50
    ZARATE	MAYREN,	TANIA	L         1        $55.72         BRENNAN,	CHRISTOPHER          0       $262.54            THOMAS,	LUKE         0       $952.72
          SAN	DONG,	DUDU           0        $56.34              LEMS,	GARRETT	J          0         $1.20      SELLERS,	CHRISTINA	M       0         $0.00
     MEZA	TAMAYO,	JORGE	E          0       $158.13             MCMILLAN,	KYLE	F          0         $0.00        STAPLES,	DARRELL	A       1        $56.24
    OSEI-TUTU,	KWAKU	PANIN         0       $522.30                IVY,	DANIEL	A          0         $0.00         CLAYTON,	CONNER         0       $149.49
         SEKPON,	AMOUR	D           0         $5.01          MENDOZA,	ORQUIDEA	I          0       $185.80          TAYLOR,	JAMES	P        1       $112.23
 JIMENEZ	VALENTIN,	MANUEL	A        0       $119.29             CARRENO,	DANIEL           1       $290.03        BERNARDI,	RYAN	M         1         $3.36
       ESTRADA,	FLORENCE	S         0       $107.82            GODINA,	GUSTAVO	A          0        $70.18          SAYRE,	JEFFREY	D       0        $79.56
   MANZANO-CAMARILLO,	JOSE         0       $540.93     ACEVEDO	DOMINGUEZ,	PATRICIA	E     0        $23.72        SLATTERY,	SARAH	M        0       $333.14
   RELENTE	JR,	DOMINADOR	D         0       $110.56              MOTA,	MA	DEL	S           0       $149.63         KRAMER,	DAVID	D         0        $32.47
            CASEY,	CURTIS          0       $313.94              KESSE,	ABIGAIL	A         0       $771.12            BODY,	ANDREA         0         $0.00
       VEGA-AVILA,	PATRICIA        0       $251.45              CRAMER,	MARK	E           0         $7.79          KERNS,	PATRICE	N       0         $2.52
    NAVA	GONZALEZ,	EDGAR	F         0        $66.07                RUIZ,	BLANCA           0       $296.07         STOCKSTILL,	RYAN	J      0        $78.26
          HEISLER,	WILLIAM         0      $1,590.31           HOVIS	JR.,	CHARLES	F       0         $0.00         MARTINEZ,	AARON         0       $367.90
        STEWART,	MARKEL	N          1         $0.00             TURNBULL,	JAMES           0        $57.73          REED,	MICHAEL	S        0       $177.91
  ORTIZ	VILLARREAL,	DAHENA	C       0        $63.40              KOZAR,	MARTIN	A          1       $242.59      BARAN,	ALEKSANDRA	A        0        $27.94
 HERNANDEZ	MARTINEZ,	YESICA        0       $461.49      GOMEZ	DE	LA	CASA,	ANTHONY	R      0       $328.89     WILLIAMS,	JASMELIQUE	M      0        $84.69
            BADU,	COLLINS          0       $180.52          WARFIELD,	RACHAED	M          1       $209.64           ACOSTA,	JAZMIN        1       $219.21
 VELAZQUEZ	MAHUIZTL,	PEDRO         0       $115.29               LANE,	NORRIS	F          0         $0.63      PLETICHA,	MATTHEW	C        0         $0.54
         MANIYA,	JALDEEP	P         0       $104.06          BRANSON	JR,	MARVIN	G         1       $136.55         ARROYO,	MICHAEL         1       $249.84
 ALVAREZ	HERNANDEZ,	BRENDA         0         $9.28            HENRY,	TORRENCE	C          1       $168.42        GARCIA,	FRANCISCO        0       $681.85
        MOORE,	DARRELLE	D          0        $80.67              NUNEZ,	HORACIO           0       $239.67        DANSO,	EMMANUEL          0       $777.97
            MOON,	SAHAR            0        $99.19    HOLMES-WILLIAMS,	CHRISTOPHER	A     0       $147.29         BOULDIN,	ANDRE	K        0        $85.21
HERNANDEZ	MARTINEZ,	CITLALI	E      0       $123.61              FELDER,	MICHAEL          0        $76.09          FRAZIER,	PAMELA        0        $38.46
    DURAN	HERNANDEZ,	JULIO         0       $172.94              ZARAGOZA,	GINA           0       $348.62     COCHRANE,	CATHERINE	A       0         $5.62
  ALVAREZ	SANCHEZ,	ITZAYANA        0        $48.89              ROGERS,	JUSTIN	C         0        $26.58              HILL,	KEVIN        1       $794.43
          RAHMA,	ISMAIL	Y          0        $53.55       MELERO	DE	NEVAREZ,	BEATRIZ      0       $159.31            MOORE,	KEVIN         1        $58.19
      VERA	NAJERA,	DANIELA         0      $3,004.29              SMITH,	JEREMY	J         1      $1,112.23         MORENO,	FELIX	R        0       $179.46
 GUILLEN	ALQUICIRA,	GILBERTO	J     0        $71.68           GARCIA,	VERONICA	N          0       $469.23        BRYANT	JR,	JAMES	E       1        $33.30
              UK,	PHUN	T           0        $67.32           MCCAULEY	JR,	JAMES          0       $126.26        HOWARD,	QUINCY	J         0         $0.26
         CARPENTER,	CINDY          1      $3,884.16             ROBLES,	RICHARD          0        $20.00               LA,	MINH          0         $0.00
   GARCIA	ANCHONDO,	AMELIA         0        $36.51           GUZMAN,	ALEJANDRO           0         $9.22           PEREZ,	MANUEL         0       $209.94
     CONTRERAS	LULE,	MARIA         1       $344.71            PFEIFFER,	ANDREW	J         0        $40.02            MATHIS,	CORY         0        $67.52
 BAGNEKI	KINGUE,	GUY	HENRI	D       0       $252.71              TRULL,	MARTIN	L          0        $15.57       ALVARADO,	DANNIEL         0      $2,309.06
         ROLON,	MAURICIO           0       $147.75           THOMPSON,	KAITLYN           0        $26.34      CORTEZ-HILL,	EMMA	M        0        $52.65
           THANG,	SAN	UK           0        $50.90                MURO,	JUAN	C           0         $0.00      GRIFFIN	JR,	REGINALD	A     0         $0.00
         VERNON,	JEREMY	R          0         $0.00           USELDING,	THOMAS	M          1       $213.55            SOLIS,	JUAN	M        0        $63.98
    ROMERO	BARBOSA,	RAUL           0       $152.29            MARTINEZ,	SAMUEL           0       $121.90        SALGADO,	ROSENDO         0       $216.63
  GUILLEN	ALQUICIRA,	SERAFIN       0        $77.88               FALLAD,	CECILIA         1       $292.66         MARTINEZ,	DANIEL        0       $292.13
       ARIZA	JUAREZ,	OSCAR         0        $67.93         HERNANDEZ,	JONATHAN           0         $1.03          VEGA,	ANDREW	G         0        $43.58
          PIZANO,	MARCO	A          0        $64.32        RUIZ	OROZCO,	FRANCISCO         0       $587.21             POE,	JACOB	J        0        $73.74
           PEDRO,	OSCAR	V          0        $93.42         ORTIZ	PIZANO,	MIGUEL	A        0         $1.03            WELLS,	DENISE        0        $61.81
           GWIN,	KATERINA          0       $733.93               MENDEZ,	JOSE	F          0        $81.14        CARAWAY,	ADAM	E          1       $217.28
         KWAKYE,	STEPHEN           0        $81.83             PIZARRO,	MAYRA	A          0         $6.35          CISNEROS,	JAVIER       0       $505.52
        KHAN,	HAFEEZUDDIN          0        $92.22               KULIG,	MONIKA           0       $775.41         SALINAS,	SAMARIA        0        $76.43
          UHOR,	MICHAEL	A          0       $395.84             SAWICKI,	TAMRA	L          0      $2,819.88          SEERS,	STEVEN	R       0      $1,071.79
        BETHEA,	ELISHEVA	H         0         $5.53             MARTINEZ,	ROBERT          0       $484.56          VAZQUEZ,	DANIEL        0        $27.17
            RILEY,	JAMES	C         0        $56.30           WINTERLE	III,	ALBERT        0        $91.12          VASQUEZ,	JOSE	G        0       $819.68
          POWELL,	COREY	L          0        $48.64              DIXON,	TYRONE	D          0       $325.86        VORLICKY,	ROBERT	J       0         $0.00
           ATTIA,	RAGAB	M          0        $33.02        BROADWAY	IV,	HORNER	K          0        $34.17         KELLEY,	DYNASTY	R       1         $0.00
         ROBINSON,	KIEREN          0        $38.60               LEECH,	DANIEL	J         0        $91.36          WEBB,	JOSEPH	M         0       $152.64
   MCCLELLAND,	MARSHELIA	C         1         $0.00           MORRIS,	DEMETRIUS	L         1       $248.73        WILSON,	ROLAND	K         0         $0.00
       TAYLOR,	ENSHANTE	N          1         $0.00                HEANEY,	GINA           0       $789.44        WILLIAMS,	ANDRE	L        0         $3.48
         MEDLOCK,	JAMEY	A          0         $9.97              MOHR,	SHARESSE           1       $527.65        ROSALES,	GILBERTO        1       $251.83
        JONES	II,	WILLIAM	M        0       $303.31               DAVIS,	ADAM	D           0         $0.00           HOLLON,	JOB	M         0       $132.13
        JACKSON,	TERENCE	D         1        $27.43            SCHERMAN,	SCOTT	A          0       $219.56          GILLISON,	PAULA        1       $504.08
         GUTIERREZ,	DIGNA          0        $22.15                MOORE,	LEROY           0       $156.21           FLAKE,	ZACHARY        0       $344.96
           MOLINARI,	LUCA          0       $204.49                POPE,	JEREMY           1       $324.21       ROLAND	JR.,	OLIVER	C      0       $181.30
    SARABIA	IBARRA,	ALEXIS	M       0       $103.35                BELL,	DAVID	J          1       $143.28          PAYTON,	CRAIG	B        0        $65.92
           WESTON,	JASON           1       $215.88                ORTIZ,	MIGUEL          0         $1.22          OWENS,	EDWINA          0         $0.85
   VARGAS	PORTILLO,	MARIA	E        0       $100.83              SCHAEFER,	MARC           0       $171.85        GLAISTER,	NICHOLAS       0       $537.90
            SANCHEZ,	ANA           0        $63.86              HADLEY,	ASHLEY	S         0        $71.49          RAMIREZ,	LETICIA       0        $85.80
         CRAWFORD,	JAMES           0         $4.13           DARAY	JR,	THOMAS	B          0        $18.91        BULLOCK,	CARRIE	G        0        $53.50
    CEDILLO	GARCIA,	ALFREDO        1       $244.54           GALMORE,	DEMISHA	T          1       $110.21    DOMINGUEZ,	JACQUELINE	M      0         $0.15
         LEON	ACOSTA,	LUIS         0       $644.27         MIERENDORF,	WALTER	H          0       $102.96          GAMBOA,	DANIEL         0        $21.72
         PURNELL,	DUNCAN           0         $0.00           VANCE,	SHAMEANA	A           1        $40.18        LUCENTE,	RANDY	M         0         $0.00
    CORNEJO	GAETA,	FORTINO         0       $608.16               GAYTAN,	MARIA           1      $1,519.03         CATCHINGS,	SEAN        0       $255.69
          COTILLIER,	IESHA	L       1       $113.06           QUEZADA,	CYNTHIA	Q          0       $349.11          GUARDADO,	IVAN         0        $58.76
              ZOM,	CIN	L           0        $93.23        GONZALEZ	ISLAS,	ALFREDO        0       $370.35         MARTINEZ,	MARIA         0        $74.33
        BATTLE,	BRANDON	B          0        $15.54          DIAZ-MURILLO,	BEATRIZ        0       $325.55         HEARD,	CARLOS	M         0        $57.57
           LUCKA,	SHEILA	A         1       $663.84                TOLAN,	BRIA	L          1        $72.71         BUTLER	JR,	ALVIN	L      0       $151.90
       CRISLER,	MICHAELA	A         0         $0.00               GARCIA,	CESAR	E         0       $197.83        SAUCEDO,	CLAUDIA         0        $91.95




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              Name           Opt-In      Total                 Name            Opt-In      Total                  Name           Opt-In      Total
 DOMINGUEZ	FUENTES,	LUIS	I     0       $219.87       GUGORA,	MATTHEW	T           0        $50.46             MARTINEZ,	YONI        0       $151.14
           THANG,	UK	H         0        $59.75         SANCHEZ,	YOLANDA          1       $461.54        SMITH,	LAYSHAYALE	N        1         $8.87
      CANTRELL,	DENNIS	L       0        $61.14             GOLEC,	ALICJA         0       $728.37           MISCH,	REBECCA	A        0        $97.04
 BONSOL,	JOHN	ERICKSON	M.      0         $0.00            LEACH,	BRIAN	T         0         $0.00        CUNANAN,	BERNARD	G         0       $133.57
         PEARSON,	IVAN         0       $218.77          JANSEN,	STEVEN	P         0       $180.78              RUIZ,	ALONDRA        0         $0.00
       TURNER	II,	MORRIS       1        $95.33          ALMANZA,	LORENA          0       $511.18             SEYMORE,	ILIA	M       0        $84.85
         VANN,	WILLIE	C        1        $65.15       COLEMAN,	TARNISHA	S         0         $0.72          JACKSON,	MICHAEL	J       0        $91.63
    SANCHEZ,	ELIZABETH	M       0         $0.00           CONE,	SHAMIKA	C         1       $116.97           CHATMAN,	ELVIS	D        0         $0.99
         ACOSTA,	DAVID         1       $166.85          TERRAZAS,	RUBEN          0        $53.63              MARTIN,	CORY         1       $891.45
       MERSCH,	MICHAEL         0        $65.31          BONILLA,	ROBERTO         1       $147.84             JIMENEZ,	SHEILA       0         $0.00
       PABRIAGA,	SARAH         0      $1,256.50           WYATT,	JASON	P         0        $69.06          WOODS,	CANDACE	C         0       $471.97
         GILBERT,	SCOTT        0       $433.58         HERNANDEZ,	NOEMI          0       $213.64             LIMON,	GEORGE         0       $156.27
      SCHLUETER,	KATHY	L       1        $36.99         VIRELLA,	JOSHUA	M         1        $96.16     REYES	MARQUINA,	ERIBERTO      0        $71.30
         KNIGHT,	ERICA	N       0       $122.21        PENTON,	MICHELLE	P         0      $1,081.80            HURTADO,	DAISY        0      $1,637.28
    MAJEWSKI,	CHRISTINA	M      0       $275.36          FLORES,	MICHAEL	J        0        $85.02       MERAZ	CABRALES,	JORGE       0        $81.95
      GAROFALO,	NATALE         0      $1,227.08     BENYOUSSEF,	MICHAEL	M        1        $51.68            HAMLIN,	JULIUS	K       1       $269.56
         HORN,	ANDREW          0       $283.84        HILLIARD,	MALCOLM	X        0        $45.78           TAURISANO,	JANET        0       $618.33
    SOLANO,	ADALBERTO	D        0         $0.00            WILLIS,	JAUKIA	L       1       $159.25        MARTINEZ,	GABRIELA	I       0         $0.00
       UGARTE	JR,	ISRAEL       0       $512.28          HERNANDEZ,	FELIX         0       $225.51        BRADY,	CHRISTOPHER	J       0       $589.12
       MARTINEZ,	JULIAN        1      $1,529.19          DELGADO,	MARIA          1       $432.18         SALGADO,	FERNANDO         0       $234.28
         LITTLE,	DARNELL       1       $119.23        ROMERO,	ALEJANDRO          0        $53.71         CHLUMECKY,	RYAN	M         0        $82.31
     SORIANO,	NICHOLAS	A       0       $299.23              KUBI,	NANA           0       $512.51             GONZALEZ,	ISELA       0        $91.97
       SOTO,	ALEJANDRO         0       $481.62       REYES	CHACON,	MARIA         1       $366.41            STINSON,	DARRYL        0        $58.52
        SMITH,	DARSHY	C        0        $64.60            DAHUM,	DAVID           0        $73.89            PEQUENO,	SUSY	A        1       $487.92
         PRICE,	MICHAEL        1       $830.01        SOTO	RUIZ,	HOMERO          0       $722.96             PRICE,	ERNEST	L       1         $2.04
  SCHUMACHER,	MATTHEW	N        0         $0.00       GIBSON	SR,	GREGORY	E        0        $69.14           LOY,	CHRISTOPHER        0         $0.00
       KLIMOVICH,	AMY	L        0        $42.81         BROOKS,	DARNELL	F         0        $11.05             SHELBY,	KIEYAL	R      1        $58.66
    MUHAMMAD,	JACOBY	Z         0       $115.47           WHITE,	CEDRIC	D         0        $57.04               SEARS,	RITA	D       1        $73.84
      FEARENCE,	DARNELL        0        $27.56             JOYCE,	ALEXIY         0       $219.35                RICE,	JULIE        0        $28.71
       SPEARS,	SAMMY	D         1         $1.08          RIVERA,	RICKY	RAY        0       $160.61          WASHINGTON,	AKI	F        0        $74.77
     MOORE,	ANTHONY	M          0       $514.85        GOFFINET,	KENNETH	A        1       $300.72        YOUNGER,	BRITTANY	B        0       $135.77
 JIMENEZ	MARQUEZ,	HAMLET       0        $58.86           FISHER,	JIMMIE	B        0       $133.24           BROWN,	KRISTEN	S        0        $56.85
         CAIN,	QUIANA	L        1       $177.01         MADRIAGA,	BRIAN	C         0        $54.84         BEASLEY,	MATHEW	S         0        $14.90
        SHORT,	PAMPERO         0       $726.26           CASTRO,	DAVID	A         0         $5.86          PAPIEZ,	ANGELICA	M       0        $12.91
          RICE,	DANIEL	P       0      $6,164.34      MILLER,	KEYASHAUNA	D        0         $0.00       GONZALEZ,	ALEJANDRO         0       $279.62
       FALLON,	ORLANDO         0       $286.97            DAVIS,	SHEILA	M        0        $78.19      KOCIELKO,	CHRISTOPHER	A      0        $56.77
        MURPHY,	BRIAN	E        0        $23.06             MEIKE,	DANIEL         0       $589.41            FITTS,	GREGORY	D       1        $79.90
         COFFIN,	KEVIN	K       0         $1.47       WAGNER,	REBECCA	LYN         0        $44.12    GUTIERREZ-CORREA,	KIMBERLY     0       $119.95
    RODRIGUEZ,	JAQUELINE       1       $145.15     RIOS,	EDUARDO	SALVADOR        0       $504.81               ROJAS,	JOSE	E       0        $14.06
      SANCHEZ,	ALFREDO         0       $111.10              CANO,	OLGA           1      $1,103.71         MONDESIR,	PAVLOV         0       $239.78
      BROWN,	ANTONIO	R         1       $413.35         MACAK,	MATTHEW	J          0        $92.64             SALIB,	ANWAR	R        1       $137.53
        CAREY	JR,	JOHN	V       0       $378.55            SANCHEZ,	JOSE	L        0      $1,039.28        SANTIAGO,	ALBERT	M        0       $130.49
     MUELLER,	NICHOLAS	J       0        $21.23        WILBURN,	MICHAEL	D         0       $166.11            HORN,	DONALD	G         0         $0.78
        RUIZ,	MARIANNA         0        $83.02          PEREZ,	VANESSA	C         0        $65.16             WHITE,	DAVID	W        0        $28.71
      MILLER,	ANTHONY	R        0       $125.90             GILICH,	JASON         0       $367.77          JACKSON,	LAWANDA         1       $131.37
           SALAS,	HUGO         0       $136.75           OCHOA,	RICARDO          1       $185.23            GODINEZ,	ESTHER        0       $559.13
        LOPEZ	JR,	CARLOS       1        $53.21            MAYA,	YESENIA          0        $99.47          SIZELOVE,	BRANDON        0         $1.61
           LYLE,	JESSICA       0       $744.83          JONES,	BRITTANY	L        0        $37.85               LARA	JR,	JOSE       1       $155.16
        JACKSON,	GARY	T        1        $26.86        MARTINEZ,	YESENIA	A        0       $246.77         THOMAS,	DONTEA	M          0        $68.56
MARCHAN	SALGADO,	MAURICIO      0       $284.17       VALENCIA,	ALEJANDRO         0       $200.84           WATSON,	RENITA	D        0       $201.17
      WILKINSON,	JACOB	R       0        $14.00         FERNANDEZ,	KARINA         0        $73.31              ZACARIAS,	JOSE       0       $310.60
      ARRIAGA,	LOURDES         0       $216.23          GONZALEZ,	DANIEL         0        $43.82           RUTH,	ANTHONY	D         0        $33.45
   SULEMAN,	MUHAMMAD	S         0        $46.03          RIVERA,	JORDAN	M         0       $116.26          BROWN,	DWAYNE	M          0        $37.13
           FAVELA,	RAUL        0       $100.12       MENDOZA,	FRANCISCO          0        $77.24              LANGE,	SARAH         0      $2,470.42
      TRISTANO,	MICHAEL        0       $224.59    VAZQUEZ	MINGUELA,	MARIA	Y      1        $94.45          COOPER,	TIMOTHY	V        1       $189.60
     NORTHROP,	PATRICIA        0      $1,319.70        BIZIMANA,	PATRICK         0       $103.34               LANGE,	RYAN         0       $950.39
      VALENZUELA,	MARIO        0       $264.49            FLORES,	MARTIN         0       $231.24       HERNANDEZ	JR,	SERGIO        0        $72.91
       THOMAS,	RONALD          0       $284.07          TURBIN,	CHRISTIE	L       1       $357.24           HAWKINS,	COREY	A        0        $93.66
     CARPARELLI,	FRANCO        0         $3.34        WILLIAMS,	TYRONE	C         1       $109.73           SALGADO,	ENRIQUE        0        $77.00
        RAYE,	THOMAS	P         0       $828.71       NUSHARDT,	MICHAEL	A.        0       $387.58          RAMIREZ,	STEPHANY        0       $127.74
   THOMPSON,	RAYMOND	A         1       $161.27         CISNEROS,	MARTHA          0       $702.82           WILLIS,	CHRISTIN	T      0       $254.15
          YOUNG,	ERIC	S        0         $2.43          FOSTER,	ANGELA	D         1         $9.17          GUTIERREZ,	JACOB	A       0         $0.25
     MEDRANO,	AGUSTIN	U        1       $149.10        HARGRAVE,	JEROME	E         1       $164.33           LYONS,	JAMEECIA	L       0       $144.87
         GARCIA,	CARLOS        0       $269.21         WATTS,	GARLAND	H          0       $792.52              CAHUE,	J.	JESUS      0       $557.56
    HOLLOWAY,	VICTORIA	A       0         $0.16          FLORES,	RODOLFO          0        $79.14            REYNOSO,	ADRIAN        0         $4.21
      GONZALEZ,	JASON	M        0         $2.32           SMILEY,	STEVEN	R        1        $53.28      GONZALEZ	FIGUEROA,	JOSE      1        $31.30
    CHRISTOFF,	MICHAEL	B       1        $23.14             CAMPA,	ERIC	P         0        $30.25        ODOR,	CHRISTOPHER	J        0         $0.29
ARROYO	FIGUEROA,	DOMINGO       0       $199.32           PONCE,	RICARDO          0       $638.63           WIAFE,	MICHAEL	A        0        $10.30
          SENKO,	RYNE	D        0        $34.98            COLE,	MARCUS	T         0        $50.07            SVOBODA,	GAIL	E        0       $138.49
      AGUILAR,	JONATHAN        0        $60.15             ALLEN,	AMY	M          0       $127.75            FRIEDER,	MICHELE       0      $1,885.90
      BOOKER,	LONDON	T         0        $80.78          KRULL,	DANIELLE	D        1       $792.93           WHEAT,	GREGORY	L        0       $217.14
          RIOS,	RICARDO        0       $400.55          PADILLA,	NORMA	I         1         $0.00          O'CONNOR,	JASON	P        1       $223.08
          ROTH,	RACHEL         0        $43.37      MATUSZEWSKI,	ANGELA	G        0         $0.21        GUSTAFIK,	KENNETH	R        0       $719.60
      PALACIOS,	MARIA	D        1       $219.80           TRUSCHKE,	ALLEN         0        $32.51              BLACK,	TASHIA        1      $2,151.35
            CU,	ALLAN	Q        0         $1.12         VARELA,	CONSUELO          0       $456.15              SALAWA,	PETER        0        $21.75
        HURTADO,	SOFIA         1       $167.75          LABAK,	STEPHEN	M         0       $444.83           SWASTEK,	KRISTEN        0       $658.31
          GARCIA,	IRMA         0       $131.66          WINFREY,	MELVYN          0        $18.65          LUMPKIN,	PATRICK	L       0       $180.54
       JIMENEZ,	PATRICIA       0       $200.15          TURNER,	AARON	D          0        $38.18           VILLALOBOS,	FIDEL       0       $407.87




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               Name           Opt-In      Total                 Name            Opt-In      Total                 Name          Opt-In      Total
      MAIDA,	EDWARD	M           0        $15.46        LAWSON,	GREGORY	L          0       $104.22        THOMAS,	TIMOTHY	E        0         $0.74
       JOHNSON,	ROBERT          0        $71.06         PELAYO,	JUANPABLO         0        $78.54     ALCANTARA,	CLEMENTE         0       $269.09
    FOXWORTH,	VAL	GENE          0       $176.48             GALL,	ELYSE	A         0         $0.00          MARCHAN,	OMAR          0        $69.57
     BLAYLOCK,	WILLIAM	R        0       $106.93             MCGEE,	RIAN           0       $273.39      SEARS,	CHRISTOPHER	D       0         $0.88
     WARREN,	GREGORY	K          1       $123.16       MULLINGS,	SHANTINI	O        0        $20.13         ANDREWS,	ALVIN	G        0        $15.36
         BRAY,	KENNETH          0        $28.68            BICA,	RICHARD	E        0       $148.49             HAHN,	MELISSA       0       $137.67
            LEIN,	ERIC	R        0       $212.54         BAHRS,	NICHOLAS	S         0         $5.20        VARVAREZOS,	ALEX	D       1        $21.98
         GLUNZ,	TYSEN	J         1         $3.46           SOTO,	DOMINGO           0       $244.26           LOPEZ	JR,	MAURO       1        $43.18
        CORNEJO,	DAVID          1       $254.44           THOMAS,	DEBRA           0       $139.65        ANDRADE,	CARLOS	M        0        $97.42
           SIERRA,	LUIS         0      $1,319.40         MUNSON,	EUGENE           1       $513.57          WHITE,	ZACHARY	L       1       $105.55
            LOPEZ,	LEHI         0        $33.77       BENAVIDEZ,	RAYMOND          0       $329.09        HERNANDEZ,	BRENDA        0       $137.76
          LANGE,	KARL	R         1       $319.26          TONEY,	WILLIAM	E         0        $60.28           CARLSON,	MARK	J       0         $0.00
      HOWELL,	ANNETTE	R         1        $51.60       VILLANUEVA,	ROBERTO         1       $236.30        SANDOVAL,	VANESSA        0        $25.19
      DONNELL,	PORTIA	A         0         $0.29         ROGERS	JR,	DIOUDY         1        $39.05             PATEL,	BHAVNA       0      $1,065.74
          CELIS,	MISAEL         0       $185.42           FRAGOSO,	GORGE          0       $331.62              POE,	KAWMU         0        $98.36
           FLORES,	ERIC         1       $429.19           GONZALES,	ANNE          0       $448.77         ANJELES,	NASHIELLY      0       $218.99
       MORENO,	JOSHUA           0       $294.48        RODRIGUEZ,	JUSTO	G         0       $935.35           SIDDIQUI,	RAHEEL      0         $4.73
   ANACLETO-LEON,	JUAN	C        0       $291.06          CORTEZ,	VERONICA         0        $17.79      REISING,	CHRISTOPHER       0       $443.02
           SOTO,	OMAR           0        $59.28         CASTRO,	ANDREW	A          1       $196.59        MALLARY,	ROBERT	M        1        $27.03
       KLUTH,	ELIZABETH         0      $4,447.07       WHITESIDE,	ANALISA	J       0         $0.00              SOTO,	PEDRO        1       $327.67
      MORENO,	SHAUN	M           1       $141.62       ORTIZ	RAMIREZ,	JOSE	A       0       $470.26              BOLDT,	JAMES       0       $186.56
    TINOCO	ZARZA,	JESUS	S       1       $236.12       HERNANDEZ,	MIGUEL	J         0       $170.60          MENDOZA,	RAUL	P        1        $48.53
         BOLYN,	RYAN	W          0       $421.48        FREEMAN,	KATRICE	M         0         $0.21           LUCKEY,	VANESSA       0         $0.00
         MISSEL,	DARIUS         1       $148.53    BROWN-DEMPSEY,	JOSHUA	A        0       $218.98         SMITH,	TIMOTHEUS        0       $234.25
     RICHARDSON,	ARIECIA        0        $54.67            GIBSON,	RUDY	L         1       $152.69       ZARATE,	CHRISTOPHER       0        $49.78
     METOYER,	ANTHONY	J         0         $1.54             MOORE,	KEVIN          1       $240.82         HURTADO,	ADOLFO         0       $582.93
     RODRIGUEZ,	ESTRELLA        0        $37.79          PULLON,	ANDREW           0       $653.38           CARRENO,	YANET        0       $522.74
       MARTINEZ,	JOSEPH         0        $25.39      MATTHEWS,	VANNESSA	S         1       $106.55         DELGADO,	JOSEPH	E       0        $89.88
MENDOZA-CALDERON,	AGUSTIN       0       $244.04        CARSON,	BRANDON	N          0       $187.81              CANALES,	LEE       0       $152.00
   MALAGON,	EMMANUEL	M          0       $207.20            REYES,	IGNACIO         0       $186.32     URQUIZO	ALMARAZ,	JOSE       0       $216.35
         HUYNH,	QUAN	T          0        $49.51             STREET,	JOY	D         0         $0.00            JOHNS,	STEPHEN       1        $86.29
      SULEMAN,	ARSALAN          0        $55.89      MANNING,	CHIQUITA	M          1       $379.12       DAVIS,	MARY	FRANCES       0       $949.13
     DIAZ-VEGA,	ADRIANA         0       $667.75           HARRIS,	ROBERT	L        1         $0.00       SHELTON	JR,	ADRIAN	C      0        $24.69
     BARTELLO,	STEVEN	M         0        $69.62           DANIELS,	FAITH	L        1        $74.39            GRANT,	ISAIAH	T      0       $123.47
         MORRIS,	BRETT          0      $1,517.36         HOARD,	DEONTA	R          1       $110.17       LEONARD,	MICHELLE	T       0         $0.00
  ROMERO-GUZMAN,	JORGE          0       $193.47             GARCIA,	LUIS	J        0       $143.88        PEREZ,	OMAR	ALEXIS       0       $208.25
           RAMOS,	ERIC          0       $223.91            CINTRON,	DANA          0       $170.42          JOHNSON,	AHMED         0       $503.51
       HARRIS,	ANTHONY          1       $198.05          VALIBHAI,	HATIM	S        0      $1,052.14          WEEMS,	SHANA	F        0        $98.50
        EVANS,	MONET	L          1        $38.13         WARD,	MATTHEW	S           0         $0.48         HERRERA,	GERARDO        0        $83.29
       BLANCO,	ALFONSO          1         $0.00         MYERS,	QUENTYN	D          0       $274.73           JURINEK,	JACOB	J      0         $0.00
         GOMEZ,	ISABEL          0       $271.98          JOHNSON,	TONY	D          0       $179.96      BOATENG,	CHRISTIAN	A       0       $356.13
   RODRIGUEZ,	NICHOLAS	E        0         $0.00         STRUNKA,	STEVEN	J         0       $114.52        HARDY	JR,	LEANDREW       1       $334.19
    WALKER,	CHRISTOPHER         1       $122.72      PALOMARES,	JONATHAN          0       $170.30         CANNON,	ANTRON	J        0         $0.00
         ESTRADA,	JUAN          0       $304.20            MUNOZ,	ALEXIS          0       $146.96             SMITH,	JASON	E      0         $0.00
    VALLEZ,	SAMANTHA	M          0        $76.52         HENDON	IV,	DAVID	J        0        $52.53         WILLIAMS,	ELLIOTT       0        $21.98
      COLEMAN,	TIERRA	T         1       $213.27             MENDEZ,	NOE           0      $1,016.61       PHILLIPS,	THERESA	M      1       $570.32
       SIDNEY,	CHRISTIAN        0       $132.18           FAVELA,	LIBRADO         0       $544.01          OXIER,	KENNETH	L       0        $19.16
          MACK,	JAMES           0        $16.78        BARRON,	ANDREW	M           0        $67.83      RANDOLPH,	SHARON	N         0        $95.91
       YOUNG,	JOSHUA	T          1       $104.02          RAMIREZ,	OMAR	A          0       $259.47          HOBBS,	RASHAWN         1      $1,028.92
      BURKETT	JR,	KEVIN	L       0        $90.36             SHAH,	VIPUL	B         0       $116.12           LIBERTY,	PATRICE      0        $83.63
CANALES	ARCOS,	AMAIRANY	M       0         $2.78          KNITTLE,	RANDALL         0       $349.06        CERECER,	RODOLFO	G       0        $73.35
    GUZMAN,	ANTHONY	M           1        $11.78          BURKE,	EDWARD	K          0        $45.56        MURILLO,	ARMANDO         1       $511.57
         NAVIA,	BEATRIZ         0       $259.92         JACKSON,	ROBERT	L         1         $0.41           FRONEK,	LYDIA	M       0       $128.93
          OSORIO,	JESUS         0       $172.53         MCBRIDE,	TONYA	M          0       $123.58        GONZALEZ,	CRISTINA       0        $86.38
    GRIMALDO,	ALEJANDRO         0       $102.07          JACKSON,	JEROME          0       $101.30           LIBBY,	DONALD	P       0         $1.63
         KNEIP,	JUSTIN	K        0        $66.04          MYRICK,	ROCHELLE         0        $79.55         MURRAY,	JOCELYN	L       0      $1,043.00
         CIMINO,	KYLE	A         0        $53.69         GREEN,	MALCOLM	E          0       $126.61       JOHNSON,	MARTIKA	M        1       $111.87
      OSEI	ANNOR,	DANIEL        0       $225.98          HALTOM,	JERRY	W          0       $434.17         PATINO,	FRANCISCO       0       $151.43
         GUZMAN,	OLGA           0       $286.22            COLE,	WYNTER	S         1         $4.55               LOPEZ,	JOSE       0       $581.03
GUTIERREZ	ALCANTAR,	YESSICA     0       $552.80             KOET,	SAVETH          0       $286.55            QUICK,	AUSTIN	T      0        $85.71
        DIXON,	CLARENCE         0        $17.99           SAUCEDO,	JOSE	A         0        $24.34       BAERGA,	JONATHAN	T        0        $36.84
        SMITH,	PAMELA	F         0         $2.16         FRANKLIN,	FLOYD	M         1        $17.99           PICKENS,	JACOB	A      0        $12.49
       BROWN,	MARIO	M           0         $0.00      MERKSON,	STEPHANIE	P         0       $129.78              CRUZ,	MIGUEL       0         $0.00
          LEE,	FREDDIE	A        1        $24.92          AGUADO,	NANCY	A          0         $0.00      JEFFERSON,	LATANYA	N       0       $219.53
      CASTELLANOS,	ANA          0       $253.40         KRYNSKI,	ARTHUR	A         0        $54.91             FOLEY,	KIRAH	S      0       $227.57
        MACLIN,	GERALD          0        $29.92          ROSARIO,	WILLIAM         0      $1,403.59          MILLER,	ELIJAH	W      0        $22.41
       JONES,	CORTNEY	S         1        $11.04         HOSKINS,	JACQUES	S        1         $0.00      WILLIAMS,	MARQUEZ	Z        0        $48.12
   PATRICKUS,	LAWRENCE	J        0       $121.11      ZAMORA	JR,	LEOPOLDO          0       $188.29        CAHUE,	MA	CARMEN         0       $258.04
          BRIGGS,	JERRY         0       $277.63           BAUTISTA,	ALLEN         0         $3.86             SYED,	AHSAN	A       0         $0.00
        HOLTON,	DUSTIN          0       $198.42           TERRAZAS,	SILVIA        1       $463.44    OWUSU	AFRIYIE,	FRANCIS	Y     0        $68.84
   MAGRUDER,	GREGORY	S          0        $14.53           CHEEKS,	CAROL	A         0        $62.90               SANG,	KHAI        0         $5.20
         KRAHULA,	AMY           0         $9.55        STEVENSON,	CURTIS	K        0       $138.05         BORRERO,	JOSEPH	A       0       $101.65
    OLIVARES,	LAWRENCE	A        0        $51.71           ROMERO,	XAVIER          0       $112.45          RUSH,	ANTHONY	D        0       $683.29
 REYES	CERVANTES,	GEORGINA      0       $703.82     AVELAR	MEJIA,	MARCELINO       0       $151.44        LYONS,	ALEXANDER	D       0       $135.60
        FLORES,	MAYRA	G         0        $65.01           VAZQUEZ,	DALILA         0       $289.29             LYONS,	JOSEPH       0       $326.57
      VELAZQUEZ,	JULIAN         0       $487.66           ORTIZ,	ARMANDO          0       $558.17         ALEXANDER,	ALAN	J       0        $16.46
        COELLO,	MIGUEL          0        $99.27          PRUITTE,	DEBORAH         0       $318.42       CASTELLANOS,	JOSEPH       0        $46.90
   JOHNSON	JR,	MICHAEL	A        1         $1.77           BARRON,	ARTURO          0       $271.80         CARRERA,	RODOLFO        0       $334.79




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            Name          Opt-In      Total                    Name              Opt-In      Total                  Name            Opt-In      Total
   ROSADO,	JESCINDA	I       0       $229.90              NAILING,	GAYLE	E          1        $10.73           HARRIS,	SAMUEL	T         1        $99.27
     YAMINI,	ANWAR	S        0        $10.49             PATTON,	BERNETTA           1         $6.79             KUYPER,	TRACY	J        0       $117.49
   KAPLAN,	BRANDON	S        0        $85.85        CUNNINGHAM,	ANNETTE	M           0       $106.36        CARRASCO,	ROBERTO	C         0         $0.00
  HOEHN	RUIZ,	WESLEY	J      0        $30.76               CZERNY,	JANUSZ           0         $5.28            GONZALEZ,	ELIAS         0       $572.89
   SANCHEZ,	HECTOR	A        1        $92.91            JOHNSON,	FANNIE	P           1        $73.40           TAYLOR,	JEFFREY	S        0         $0.00
       VELA,	VANESSA        0       $126.15               NOVOA,	YANIRA            1       $164.17            MCGILL,	KELVIN	T        0        $84.40
       HEJJA,	YOUSEF        1       $235.44                 RUIZ,	RAUL	R           1         $8.55         WIMP,	MARGARET	M           0        $22.50
      ODURO,	KWAKU          0       $115.97    DOMINGUEZ	CHAVEZ,	MARIA	ANGELES     0         $9.06           CARMONA,	JAVIER          0        $93.81
      PATER,	THOMAS         1       $361.98             HENRY	III,	WILLIAM         0       $106.59            BENNETT,	KEVIN	J        0       $189.80
      SPENCER,	LOLITA       1        $88.48              YOUNG,	ROYCE	D            0      $1,100.94      DERDEN,	KHYAUNDRA	V          0        $70.02
  ATKINSON,	KENNETH	F       1       $112.97                ELZ,	ROBERT	A           0       $123.97            ESCARENO,	ERICA         0         $0.00
      RAMIREZ,	MARIA        0      $1,048.80          JOHNSON,	LAJUANA	D           0        $13.54          GUZMAN,	ANTHONY           1       $171.93
      LYNCH,	MICHAEL        0       $122.53             GUTIERREZ,	JOSE	E          0        $10.70             RIOS,	GERARDO          0       $398.03
     KROLAK,	JEFFREY	S      0         $6.85          MARENHOLCAS,	KERRY	A          0        $40.93         GARCIA,	MARGARITA          0       $402.05
   WILSON,	MONIQUE	L        0       $149.09               MILLER,	LATRAIL          0      $1,227.28             SMITH,	OBIE	L         0       $167.00
    BOBE	SR,	JOSE	LUIS      0         $2.46            KNAPCZYK,	EDWARD            0      $2,360.66        DIALLO,	MAMOUDOU           0       $372.89
     TURNELL,	JAMES	B       1        $83.91         BETANCOURT,	JUVENTINO          0       $181.77          SERVIN	LARIOS,	LUIS       0       $181.99
     CARTER,	ARTHUR	L       1       $130.04            WALLACE,	RASHEE	A           0       $251.03           PRADHAN,	DEEPAK          0        $76.90
   SOUTHARD,	ROGER	L        0        $31.83              SHRAGAL,	JOHN	R           0        $81.82            WATTS,	LAKEIA	V         0        $49.36
        LOMAX,	ASIA	I       0       $109.98              CASARES,	ISMAEL           0       $132.54              PRINCE,	ANNA          1       $324.32
 CULVERSON,	OMOTIYA	G       1       $175.83             HUERTA,	SERENA	E           0        $71.83            DAVIS,	SHIRLEY	M        1        $12.24
   SALINAS	III,	LORENZO     0       $271.02               GLASPER,	JADE	L          0         $5.20     BARGAS	GAITAN,	MARISELA        1        $99.56
      SUTOR,	STEPHEN        0       $100.83              HARRIS,	KELVIN	P          0         $6.16            BROWN,	KAYLA	R          1        $54.18
 ASTORGA,	ALEXANDER	C       0       $592.34           GARDNER,	KENNETH	M           1       $433.39        AMEEN,	ELIJAWAND	A          0         $0.00
 VILLALOVOS,	MICHAEL	A      0        $58.08            HOLDER,	ANTHONY	C           0        $25.79           ULLAH,	LATUSHA	A         0       $108.90
     MURRY,	AS'JAICA	L      0         $2.21                NEAL,	STEPHEN           1       $133.95            HAYES,	JASMINE	J        1         $0.00
   GANDARA,	FELICIA	M       0        $41.16             KRAHULA,	ANDREW            0      $3,897.54         WESSLING,	AMALIE	J        0        $39.86
   WILLIAMS,	REGINALD       0        $77.38            CLUTTERHAM,	CHAD            0         $5.99    SALDANA	CASTREJON,	JESSICA      0       $926.52
      FELSON,	MARK	E        1       $294.97               MEZA,	CARMEN             0       $523.12       KEOPHOXAY,	CHANSONE          0         $0.00
 BRANCH,	CHRISTOPHER	J      0        $60.94             LAMBERT,	MARK	M            0       $359.35              WHITT,	OCIE	D         0       $118.27
  CERVANTES	JR,	JAVIER      1       $335.99        LOPEZ-ANIMAS,	MERCEDES          0       $757.07          CULLENS,	RODNEY	L         0         $0.16
     PAYNE,	MICHAEL	A       0         $0.30                 JOLOY,	JOEL            0       $514.67        HUTCHENS,	KENNETH	J         0       $181.69
BUENO	GONZALEZ,	GABRIEL     0       $118.13                GARCIA,	JOSE	L          0         $3.75             BOND,	WILLIE	D         0       $317.16
       BOANSI,	GRACE        0       $331.51              PULLON,	JENNIFER          0      $3,581.97            RAU	JR,	JAMES	H        0        $54.39
     ASANTEWAA,	YAA         0        $38.18          MARCIANO,	ANTHONY	T           0        $10.01        WILLIAMS,	ALAVESTER         0       $236.74
    BARBOSA	JR,	JESUS       0       $152.75            GARNER,	DARRYEL	M           0         $0.00            DAVIS,	GREGORY          0        $99.94
       PAYNE,	ROBERT        1       $212.41          SALDANA,	JACQUELINE	B         0         $1.27           MOORE,	TIMOTHY           1       $605.48
    RAMIREZ,	ANGELICA       0      $1,566.84              DIAZ,	GABRIELA           0       $313.73           MITCHELL,	TRACY	L        1        $46.71
     CARLSON,	AUDREY        1       $166.30                CORRAL,	LUIS	E          1       $553.24           REED,	BRANDON	M          1       $313.57
     SHORT,	TAMEICA	T       0       $229.64                BOYK,	JEFFERY           0        $78.44           THOMAS,	PAMELA           1       $401.67
      DIAZ,	CAROLINA        0        $49.71               ROMERO,	KELLY            0         $2.18        BRIGHAM,	HEATHER	R          0        $63.50
  ROBINSON,	REANNA	R        1       $122.06                FLORES,	ANGEL           0       $221.91            PUGH,	WILLIAM	L         0        $98.56
     RANIERI,	SHERRI	L      0       $114.02            SARABIA,	OTTONEL	L          0       $127.42          CARDINAL,	LENETTA         0       $118.74
    MACIAS,	VERONICA        1       $527.36               DZIEDZIC,	JAN	B          0        $67.79              PINEDA,	SARA          0        $46.25
    GONZALEZ,	LORENA        0        $56.17           CERVANTES,	ELIZABETH         0       $167.35              TOBIAS,	JOSE	F        0       $487.19
         RIOS,	OFELIA       1       $404.76                 OSEI,	ALBERT           0       $814.81        NKEMEH,	MATTHEW	C           0       $171.64
      WALLACE,	SEAN	E       0       $181.66              NOONAN,	JOSEPH            0         $0.00            GOMEZ,	MARIA	C          1       $261.01
 RICHARDS,	DANIEL	RYAN      0       $357.30               WHITE,	LA	MARK           0       $472.37             RAMIREZ,	JOE	G         0        $75.10
     GARCIA,	MACARIA        0       $201.28                GARCIA,	CELIA           0       $125.75         TREJO,	FLORENTINA	G        0       $175.68
  RODRIGUEZ,	KIMBERLY       0        $19.55              OWENS,	TIMOTHY            0         $8.33         MUTEMWA,	JOKONIA           1       $116.38
     MASSO,	NICHOLAS        0       $219.91               JOHNSON,	ALAN            0        $53.99           DAHLGREN,	TROY	L         0        $13.92
      EISA,	MICHELLE	T      0         $0.16               WRIGHT,	ALVIN	E          0       $202.28              HORN,	LORIE	L         0        $25.65
     ZEPEDA,	ANTHONY        0       $355.92          VEGA	MARTINEZ,	MARIO          0        $56.61            HOWE,	TERESA	M          0         $0.00
      DESHAZER,	ERIC	T      0         $0.15            REESE,	ALEXANDER	D          0         $0.28       JUAREZ	GARCIA,	LUIS	M        0       $290.45
     SANCHEZ,	LATICIA       0        $35.25             SIMMONS	JR,	KEITH          1         $0.00               KOLAR,	ALICE         0      $1,433.59
     ANDERSON,	JODI	S       0       $114.38              HILL,	DESMOND	T           0         $0.54       ANGELES	TAPIA,	JUAN	C        0        $75.85
    PHILLIPS,	BROCK	M       0       $436.02               JACKSON,	KEITH           0       $371.38      CASTLEBERRY,	EUSTACIA	X       0        $89.85
        CHILDS,	CARLY       0       $111.01         PATTERSON	III,	RICHARD	L       0        $69.49        NEWMAN,	ZACHARY	R           0        $11.14
         RUIZ,	JOSUE        0        $29.94            MARTINEZ,	ALBERTO           0       $166.12            FREEMAN,	JULIA	S        0       $155.57
     NAVARRO,	LISA	M        0       $517.65             MAIER,	BRENDAN	T           0         $0.00        HERRON	JR,	MARVIN	B         0         $0.00
   BARNES,	SHARIECE	K       0        $64.59             TANALEON,	ROMER            0       $616.42            BAKER,	CHADRICK         0        $86.48
   WILLIAMS,	JOSEPH	C       1        $88.21       BASULTO	RIVAS,	ALEJANDRO         0         $3.49         BANUELOS,	ABRAHAN          0       $240.07
       NAJERA,	JAVIER       0       $463.85          NAJERA	ESCAMILLA,	LUIS        0       $665.18            TABER,	MELISSA	A        1        $29.39
     LITTLE,	DEANDRE	I      0        $81.61            GOMULKA,	ROBERT	J           0        $71.84          IBRAHIM,	AHMAD	B          0        $79.52
  SCHULTZ,	NICHOLAS	D       0       $209.84               GOMEZ,	MARIO             0        $10.77          KENNEDY	II,	BRIAN	K       0       $167.56
 ALVAREZ	ESPARZA,	IVETT     0       $310.05                PEETE,	JEROME           1       $973.50          VANZANDT,	MEGAN           0       $240.09
     TRUJILLO,	MONICA       0       $191.43              COLLINS,	ANDRE	A          0        $47.21            YOUNG,	JAMES	A          0       $103.59
   FRANCO,	ALEXANDER        0       $425.36              DAVIS,	EDMUND	B           1       $391.20          REYES,	ALLEJANDRO         0        $24.66
       KETO,	MICHAEL        0         $8.99                HURD,	ALICIA	C          0        $85.96    RAMIREZ	CASTRO,	JULIO	CESAR     0       $596.51
    HERMAN,	KIMBERLY        0        $20.96            WILLIAMS,	SHARITA	E         0        $71.05            MORALES,	ILDA	L         0       $246.28
    HUGHES,	DONOVAN         0        $69.99              ZUNIGA,	OSCAR	D           1       $462.89         VILLAGOMEZ,	ANGEL          0       $685.58
   BROWN,	WARDELL	W         0        $67.03             LEGGERO,	ADAM	T            0        $74.87       HERNANDEZ,	FRANCISCO         0       $249.13
MONTGOMERY,	TROYNELL	B      0         $0.00               LONG,	KIERRA	M           0       $300.35           MARTINEZ,	RAFAEL         1       $220.85
   AMADOR,	REINALDO         0        $68.36               O'BRIEN,	SEAN	P          0       $522.66                LUCIER,	LISA        0      $3,901.13
       VOGT,	JASON	A        0       $678.96            WILKINS,	LAWRENCE	I         0         $0.00        LEON-PALMARIN,	JOSE         0       $422.28
     CHEERS,	SHEREE	L       0       $108.64            ANDERSON,	KEITH	E           0         $0.00           MONROY,	BEATRIZ          0        $24.23
     BRYJA,	STANISLAW       0       $117.74                MACK,	RYAN	T            0         $0.00             SHELBY,	EUGENE         0        $60.22
    MONTERO,	YESENIA        0       $902.28             SIEFERT,	NATHAN	A          0         $1.52            SOTO,	ARMANDO           0       $556.49




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                  Name          Opt-In      Total                  Name            Opt-In      Total                     Name            Opt-In      Total
      STANDLEY,	CLARENCE	C        1       $286.08               IGOE,	SCOTT          0         $0.00          DE	LA	TORRE,	VANESSA	D       0       $144.14
       BROUGHTON,	JAMES	A         0      $1,196.62        KRAUSE,	RICHARD	S          0        $68.69             ALBARRAN,	JOANNA          0       $108.18
           INGRAM,	MARTIN         0       $495.75           SHARP	JR,	DAVID	L        0       $231.26               PADILLA,	MARTIN         0       $186.60
      OVERTON	JR,	WALTER	L        0         $0.00          BRIONES,	BRUCE	G          0        $57.23                 TAPIA,	CARLOS         1        $15.97
            WILLIAMS,	RICO        0         $0.00        CASTANEDA,	MARIA	O          0       $202.67          BETHEA,	GWENDOLYN	C          1         $1.12
             ESCOBAR,	JOSE        0        $83.81            FARRELL,	JOSEPH         0       $419.92               CORDERO,	DANIEL         0        $24.59
       OCHOA,	JUAN	MANUEL         1       $219.97             JONES,	KAREN	L         0       $572.77         RIVERA	SOTO,	FRANCISCO        0        $93.23
       WATKINS,	JEANETTA	M        0        $86.32           STOKES,	SIDNEY	E         0         $0.00                MORALES,	JOSE	L        0        $65.59
             PRICE,	RYAN	W        1       $149.61               HADLEY,	KIM          0       $165.24         PEREZ	ACEVEDO,	HIBRAIM        0      $1,022.28
            BRYDA,	RAFAL	S        0         $0.84      THOMPSON,	GUNNARD	J           0       $244.75       MATOS-MELENDEZ,	AIXAIMEE        0       $515.00
          RUIZ,	CASANDRA	M        0        $32.84           PULLON,	MICHAEL          0       $163.73            JOHNSON,	DAPHNE	R          0       $196.76
              LAZARO,	ERIC        0       $103.69        WEAVER,	STEPHEN	W           1        $47.20                 MEJIA,	INGRI	T        0        $42.38
      MCDONALD,	FREDIE	LEE        1       $722.27          ALFORD,	ADONIS	A          1        $82.64            ROSIN,	ALYSSA-JOY	M        0         $0.16
            ZEMAN,	KEVIN	A        0       $121.87            GOMEZ,	CARLOS           0         $0.02                FINGER,	JAMES	T        0       $849.03
          SAMUEL,	DELVIN	D        0        $99.95              LIBERTY,	ERICA        0       $131.88           RAMOS	SANCHEZ,	LUIS         0       $813.23
      WARREN,	TYSHEIRRAH	K        0        $14.65        METOYER,	CHARLES	A          0       $125.92               MORALES,	SINDIA         0         $0.36
           MARCHAN,	ADAN          0        $21.20         FERGUSON,	KARLA	D          0        $14.00      VELAZQUEZ	RAMOS,	ELIZABETH       0       $440.70
         WILSON,	CORTEZ	M         0        $76.90         PIGRAM,	MARCUS	L           0        $98.39     CANDELARIA-GALINDO,	EDGARDO       0       $131.08
          PADILLA,	NORMA	C        1       $263.16             MAGANA,	RAUL           0       $172.33             SALAPANTAN,	JEFF	T        0        $74.56
           SVINNING,	ROGER        0       $200.18         ANGUIANO,	HECTOR           0       $129.11             CAMACHO,	RAPHAEL          0       $408.75
          HUGHES,	DONIEL	S        0        $71.49         RICHBERG,	TIERRE	M         0       $107.92      CEDENO	COLLAZO,	ANTHONY	N        0       $108.64
WINFIELD	STEVENSON,	GWENDOLYN     0        $11.03         PENA	II,	GILBERTO	M        1        $87.05        CATALAN	COLON,	GLADYNES        0       $364.48
        BRADFORD,	SHANTE	L        0        $56.26      TILLMAN,	COURTENEY	A          0       $520.87          ROBLES	ABRAMS,	JOSE	R        0       $372.19
              KASAI,	BETH	A       0        $88.15         ALPIZAR,	VERONICA          1      $1,820.27     CUPRILL	RODRIGUEZ,	RUSTY	O       0        $19.83
       JARNUTOWSKI,	GLORIA        0        $27.57         SLUSHER,	KEISHA	M          1         $0.00          ESSA,	ROMEL	GEORGE	A         0       $216.22
          MCGREW,	ERICA	D         1        $10.89         MARTINEZ,	PAMELA           0       $108.32           DUARTE,	SAMANTHA	A          0        $38.73
             GRAY,	ERICA	E        1       $533.38          BROWN,	AIREON	D           0        $59.30                 AGUILAR,	TONY         0       $435.14
       SZYMCZAK,	WALTER	M         0        $57.05         QUINN,	MATTHEW	R           0       $144.07             DELATORRE,	ALVARO         0        $45.83
        WIELGOSIAK,	CARRIE        0      $1,203.63       WALLER,	MATTHEW	J           0       $105.03                 PEREZ,	DAVID	J        0       $165.85
            CRITTLE,	DAVID	I      0         $0.00     WASHINGTON,	DEVONTAE	L         0         $0.16               SANCHEZ,	CECILIA        0        $15.05
        KIMBROUGH,	JOHN	A         0       $177.77             DIAZ,	BERENICE         0       $417.67            CORTAZAR,	OSVALDO          0      $1,098.80
            DONOSO,	NANCY         0       $525.23       PANIAGUA,	JONATHAN           1       $275.75               BLACK,	JOSHUA	M         0       $201.62
   QUEZADA	SANTANA,	MARIA	L       0       $232.43    GALVEZ	CUEVAS,	J	NATIVIDAD      0       $125.40         TINAJERO-RAMIREZ,	JOSE	L      0       $160.40
   BRADFORD,	CHRISTOPHER	A        1         $0.00              GALVEZ,	ZOILA         1      $1,619.02            ADOMAH,	BARBARA           0       $224.29
            WATSON,	JAMES         0       $314.05         GALVEZ,	NATIVIDAD          0       $624.66            OMANA	REZA	JR,	ABEL        0       $105.44
         GRANT,	KENYATTA	A        0       $595.43           SAVAGE,	PATRICIA         0       $927.68             ALARCON,	GABRIELA         0       $278.42
          MORENO,	RYAN	M          0       $841.18        MCDANIELS,	MYRON	T          1       $359.58              DIAZ	SOJO,	CARLOS        0       $318.68
         DUKES,	GREGORY	M         0         $0.00         EVANS,	RAYMOND	H           0        $58.30                GALLEGOS,	ELVIA        0       $343.24
         RIVERA	JR.,	CESAR	E      0        $11.02            SALINAS,	LAURA          1       $166.90            ARELLANO,	MARTHA	L         0        $31.14
           SZILER,	ANDRZEJ	J      0         $3.99           JAMES,	SHANNON           0       $307.00                 RIVERA,	JOSE	L        0         $0.05
           RANCE,	JALEESA	L       0        $22.24         VILCHIS,	ROSALIE	M         0        $13.31      CARDOZA-PASILLAS,	ANTONIO        0       $182.12
       GRIMALDO,	MAURICIO         1        $96.26         LAVENDER,	TERRY	L          1        $12.56         VAZQUEZ	ANGELES,	HUGO         0       $709.81
      BLEDSOE,	LAWERENCE	H        0         $0.72         COLE,	SHARONDA	M           0       $118.35               VEGA,	FRANCISCO         0        $40.93
    RAMIREZ-PONCE,	HECTOR	E       1         $0.00         YACKLEY,	WILLIAM	J         0       $108.28                 TRAN,	JASON	L         0       $125.86
           BUENO,	MARIA	M         0       $214.07          MEADE,	JEREMIE	C          0        $51.06      RODRIGUEZ-VAZQUEZ,	KARINA        1       $211.96
    JUSTINIANO	HOYOS,	JORGE       0       $224.49      DE	LA	TORRE,	SANTIAGO         0       $129.10            VALENZUELA,	MIGUEL         0        $24.65
           READUS,	STEPHEN        0        $44.01              CLARIN,	RYAN          0       $102.23           COYOTL-LARA,	OSCAR	I        0        $66.02
           ALKSNIS,	JOSEPH	F      1         $1.11           ORTIZ,	STEPHANIE         1       $246.39                 FOUT,	COREY	L         0         $0.00
           SCHULTZ,	SHERI	L       0      $1,339.25         HENRY,	EVELYNE	A          0       $370.34          GODOY	DIAZ,	CAROLINA         1        $67.40
        GRAHAM,	DORENE	M          1       $593.33            HARRIS,	SADIE	F         0         $0.12            BLACKMON,	CARLITOS         0       $155.53
            GRADY,	MELISSA        1       $530.24         PINKSTON,	AMANDA           0       $305.18              STEPHENS,	ASHLE'	K       0        $48.89
           BUSH,	MAURICE	D        1        $91.45              BELL,	NESHA	R         1       $142.95          RAMIREZ	CAMPOS,	ANA          0        $69.12
       POWELL,	GEORGINA	M         0       $156.60        VILLALOBOS,	MARTHA          1       $267.61                CORTES,	HECTOR         0         $0.00
         MOORE	JR,	WILLIE	J       0       $221.72              PARSZE,	ERIC	J        0       $218.27          RAMIREZ	CANO,	MAYRA          0       $877.38
      WOODWARD,	MICHAEL           1       $342.50         SWAITE,	QUENTIN	O          0        $61.88      JIMENEZ	ALCANTAR,	MIGUEL	A       0       $174.31
        FISCHER,	ANTHONY	G        0        $31.02           ZAMUDIO,	REYNA           0       $449.10                CEPEDA,	YADIRA         0       $609.50
          KOWALCZYK,	KEITH        0       $253.95         CROSS	JR,	SHERMAN          1       $356.46                 ROSALES,	SULY         0       $214.17
         DECAMP,	VALERIE	N        0         $4.12         GREEN,	ANTONIO	D           0        $97.44             TAYLOR,	ESPERANZA         1       $206.11
             CABADA,	JOSE         0       $230.80           CROSBY,	JOSEPH	D         0       $393.76               PICHARDO,	NORA          1       $346.15
         HACKETT,	JEREMY	Q        0       $440.92               WU,	GEORGE           0        $54.83             HURTADO,	MARIA	D          0      $1,110.91
     STEWART,	REMINGTON	M         0        $83.53           MURDOCK,	BRETT           0       $952.62              LEDESMA,	NORMA           1       $191.23
            MURRAY,	PETER         0       $706.61          JONES	JR,	DARRIN	J        0         $0.30          MORIN	VARGAS,	JORGE	A        0        $57.41
         GUTIERREZ,	MAITED        0       $289.14           LEARY,	AUDREY	C          0        $98.85         AGUIRRE	SILVA,	GREGORIA       0       $164.83
         KNAPCZYK,	MICHAEL        0      $1,235.23       DANIELS,	DESHAUN	M          0        $92.80    HERNANDEZ	VALDERRAMA,	JESUS	R      0        $45.10
         SHEEHAN,	MASON	A         0       $117.12             MULDER,	RYAN           0       $247.36           REYES	DURAN,	MARIA	R        0        $62.49
         STACHOWICZ,	ZOFIA        0       $179.65       WILLIAMS,	ANTHONY	O          0         $0.00                 KAMPHUIS,	IAN         0         $5.91
            MURRY,	RECO	L         0        $42.56        ALSTON,	CHIQUITA	M          1        $46.52              ALVAREZ,	MARIA	C         0        $35.99
URQUIZO	ARTEAGA,	NANCY	BIANET     0       $212.64      THOMPSON,	COURTNAY            0       $758.19           LEON	CALDERON,	ABEL         0        $88.50
      HACKMAN,	LORRAINE	A         1        $19.23     GARCIA-LOZANO,	ALBERTO         0         $0.17              GUZMAN,	MARIA	G          0        $60.24
          JACKSON,	LAMONT         1       $139.70    AGUILAR	BAUTISTA,	MARIA	E       0         $0.00                TORRES,	DELIA	E        0       $729.55
              IASILLO,	JOHN       0       $747.57       PETKOV,	ALEXANDER	P          0       $113.06               RIVERA,	GABRIELA        0         $2.09
        SCHOMER,	DEBORAH          0       $414.76            GARCIA,	DANIEL          0       $106.69    GARCIA	DE	ESPINOZA,	MA	ROSAURA     0         $0.26
         ROBERSON,	JEFFERY        1         $0.00       GANDARILLA,	XAVIER	A         0       $300.30                  BERNAL,	CELIA        0       $343.37
            MOATS,	CRAIG	V        0       $120.57             STIRN,	JACOB	C         0        $11.37                  GARCIA,	JOEL         0       $337.63
           PRESLEY,	TIMIKA	L      0       $204.95     VARGAS-HERRERA,	ADRIAN         0        $12.78             HUIZAR,	GUADALUPE         0       $625.05
    PEREZ	MALDONADO,	LUIS	A       0       $736.65     PLEASANT,	MAXIMILLIAN	V        0         $0.00           DIAZ	GUZMAN,	JUAN	C         0       $161.88
      ROBERSON	JR,	BOBBY	G        1        $73.82       ROBINSON,	FLEMING	M          0       $148.89                  RUIZ,	MIGUEL         1       $803.13
        MORGAN	JR,	FRANK	H        0         $0.93         KOPEC,	BRANDON	D           0         $0.00         MARTINEZ	LARA,	MARINA         1       $462.13




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             Name          Opt-In      Total                   Name                 Opt-In      Total                 Name             Opt-In      Total
  MAZZOCCHI,	NICHOLAS        0        $36.06             VASQUEZ,	ADRIAN              0        $66.83            FLORES,	MATILDE         1       $113.87
      LEWIS,	WILLIAM	B       0         $0.00                 HARO,	IVAN               0       $107.92            GONZALEZ,	JOSE	L        1       $212.33
      RAMIREZ,	CARLOS        1       $320.14               PHAM,	THINH	H              0         $0.00         WILLIAMS,	BRITTNEY	S       0       $115.11
     ANTUNEZ,	GABRIEL        0        $79.16                 ORTIZ,	ANA	L             0        $47.29        MANTEROLA,	ENEDELIA         0       $158.19
      GASPARI,	JOSHUA        1       $181.43           OMALLEY,	MELISSA	H             0         $0.00            VILLEGAS,	ERIC	R        1       $193.75
         LEACH,	DEVIN        0       $127.05           ESTRADA,	CONSUELO              1       $323.31        GARCIA,	MA	DEL	ROCIO        0        $75.94
     SPICER,	MALCOM	J        0       $116.59        HERNANDEZ,	GUADALUPE	S            0        $23.83      FLORES	MENDOZA,	JOSE	A        0         $0.00
      EVANS	JR,	DARRYL       0        $62.80                BROWN,	RUSH               0       $319.70            GBEGBE,	AIME	C          1       $542.07
  VILLAFUERTE,	JENNIFER      0       $610.08               LUCIER,	LAURA	J            0        $74.19            BOAKYE,	LUCAS	B         0        $70.40
     CAMERON,	SEAN	T         0        $63.69           WINSTON,	SINNITRA	D            1       $163.31    AGUIRRE	MARTINEZ,	MARIA	E       0        $29.64
   WARD,	MARCELLUS	V         0         $7.35              CASTER,	LINDA	M             0       $212.26           MADRIGAL,	CECILIA        0         $0.00
    PETERSON,	ADAM	T         1        $37.63         SWIERCZYNSKI,	STANLEY	S          1        $85.61     MUNGSAMTE,	ROBERTDAL	S         0        $25.55
       QUILES	JR,	LUIS	A     0       $229.59           HARGRETT,	JUSTIN	M             1         $1.76           HANYANI,	ALFRED	C        0       $248.00
       DE	LABRA,	JESSE       0       $249.61          HERNANDEZ,	MIGUEL	A             0        $54.75        ESTRADA	SOLIS,	ANA	B        0        $87.78
    GUTIERREZ,	DIANA	C       0        $18.95             ANDRADE,	JUAN	M              0       $941.88           SAAD,	MICHAEEL	B         0        $32.21
    FLORES,	RANDOLPH         1       $217.29              COLEMAN,	JOE	B              0         $0.00       BONILLA	SOLANO,	LUIS	L       0       $182.50
      MOORE,	RUFUS	C         1       $198.75            HERNANDEZ,	RAY	M              1       $151.68         ANACLETO	LEON,	IBEL        0        $68.35
       PRUDE,	LAYAN	C        0        $45.10            RODRIGUEZ,	JESSE	D            0      $1,019.72      LEON	ACOSTA,	MIGUEL	A        0        $72.99
         JAMES,	LARRY        0       $699.97           ROBINSON,	THERON	D             1       $413.63              OPOKU,	FELIX          1       $704.77
      PIERCE	JR,	OBERIA      0       $209.64           BAINES,	TYSHAWON	A             0        $94.30              CUNG,	TAWK            0        $70.12
       SHEARD,	BOBBY         0        $95.50             COOK	III,	WALTER	L           0         $0.00    SANCHEZ	CRUZ,	SALVADOR	M        0       $202.08
      JENKINS,	CLINTON       0         $5.96              WOODS,	TROY	A               0       $145.43  BOHORQUEZ	CABALLERO,	ALFREDO      0       $759.54
       MOORE,	CRAIG	R        1         $0.24            HOUSTON,	DONDRE               0        $48.13             GUIZAR,	OSCAR          0        $74.77
      HOLLEY,	NICOLE	A       1         $0.48            VARGAS,	FRANCISCO             1      $1,263.82   VALENZUELA	GARCIA,	MONICA       0       $301.99
    MARTINEZ,	JACOB	A        0        $10.10          SILVA-AGUIRRE,	HIDALY           0        $10.08       MANCILLA	ARELLA,	ESAU        0        $93.79
    GATES,	TYWANDA	M         1        $31.44            QUINTERO,	MARIA	A             0        $93.47      MUNOZ	DE	LA	CRUZ,	ERIC	A      0       $318.97
       BARRON,	JAVIER        0       $452.56          HUBBARD	IV,	GEORGE	L            0        $44.72      ESPARZA	URESTI,	MIRIAM	I      1       $301.48
        PARYS,	JOANNA        0         $0.00              BEHNING,	KYLE	J             0       $203.13        MIRANDA,	THRISTAN	S         0       $189.02
  LEWANDOWSKI,	JOHN          0         $0.00            DE	JESUS,	CHRISTIAN           0       $230.36     VALENZUELA	GARCIA,	CARLA       0       $235.65
        HEARD,	ERIC	M        0       $172.30               RIDDELL,	CODY	J            0         $0.96         AVILA	ALVAREZ,	JESUS       0      $1,399.74
      BROWN,	MAVIS	K         0       $289.75              PATEL,	PARESH	S             0        $16.26            NYAMAA,	MABEL           0       $352.05
    BETHEA,	CAROLYN	A        1       $221.66      RAYGOZA	MARTINEZ,	FERNANDO          0        $60.35    VARGAS	FIGUEROA,	BRENDA	A       0       $245.02
   WESLEY,	TACCIANA	F        0       $424.82                RUIZ,	JUANITA             1       $213.87             MOO,	HAI	LAY           0       $110.96
  VILLAFUERTE,	SULEMA        0      $1,460.59               HTOO,	PWE	D               0        $66.05   SANCHEZ	RODRIGUEZ,	MAYRA	N       0        $57.82
   JOHNSTON,	ANDREW          0       $154.92               ADAMS,	LARRY	J             0         $0.00    QUINTERO	HERNANDEZ,	DULCE       0        $84.36
       LOPEZ,	JESSICA	S      0        $81.88               BAZAN,	PAUL	A              0         $0.00     DELGADO	SOLANO,	ADELINA        0       $336.51
    CERVANTES,	ALEXIS	I      1        $92.31           ALVARADO,	MIGUEL	A             0       $226.95             HUSSAIN,	ASIF          0       $174.47
   HOMER,	SOLOMON	L          0        $73.86              ARNOLD,	JAMES	J             1       $271.99     UMANA	GUZMAN,	YEUDY	W          0       $100.36
          DIAZ,	ALMA	I       0         $8.80             MCCOY,	EUGENE	E              1       $155.55 CORDOVA-ARANDA,	MATIAS	RICARDO     0       $447.87
 DJOMOU,	IRENE	VALERIE       0        $93.94             TRANT,	MICHAEL	J             0       $278.21           OSUMANU,	ADAMA           0       $234.86
 PIZANO	RUIZ,	FRANCISCO      0        $53.34            MASCHERI,	ALAN	M              0        $68.05          YAHYA,	MAHMOUD	I          0        $91.29
        COLE,	LAIMANT        0        $80.93            ROBERTS,	ROBERT	N             0        $39.93         NYANTAKYI,	LOUISA	O        0       $350.07
    DABNEY,	ANTOINE	C        0       $113.39          STINSON,	STEARLING	D            0       $132.72     PERALTA-MIRANDA,	JORGE	A       0       $111.10
      HAZLETT,	MARIA	J       0       $541.42               NUNEZ,	JOVITA              0       $162.29             MANG,	DAVID	A          0        $40.19
   POCHYLY,	MICHELLE	L       0         $0.32          WARDEAN,	NICHOLAS	D             0         $3.33            FOSU,	SAMUEL	B          0       $156.83
      BUSH,	MICHAEL	R        0       $554.33               RIVERA,	NICOLE             0      $3,737.16     MOHAMED,	MOHAMED	A            0        $95.92
      WITT	JR,	JOSEPH	L      1        $95.73            GONZALEZ,	EDGAR	O             0        $69.65       RIOS	ESCOBEDO,	JANETH        0        $58.90
CAPSHAW,	CHRISTOPHER	L       0        $50.55              CARDINAS,	ENSY              0        $38.41           MUSONZA,	WENDY           0        $20.30
  ESONES	JR,	THOMAS	A        0        $28.67    MALDONADO	SIERRA,	ROCIO	DEL	PILAR     0         $0.17                ALI,	ADIL	I         0        $41.48
        TORRES,	ERIKA        0        $59.85             VARGAS,	NATHAN	J             0       $501.05     TORRIJOS	GONZALEZ,	LUCILA      0        $43.58
       GRIFFIN,	LAUREN       0      $1,660.02           FITZPATRICK,	KATIE	L          0        $19.10        VERA	NAJERA,	FABIOLA        0       $789.12
  TAYLOR,	TRASHAUN	O         0       $125.51             RAMIREZ	JR,	JOSE	L           0       $439.79    MILAN	CERVANTES,	JHONATAN       0       $190.35
         OLSEN,	ELLEN        0       $201.58            SANCHEZ,	GABRIELA             0       $261.03      ORNELAS	ZEPEDA,	LAURA	L       0        $34.20
        DEANE,	LUCAS	J       0        $14.02            VASQUEZ,	RICARDO              0        $23.10          KHAMESIEH,	ARMAN          0         $0.38
       RAMOS,	KARINA         1       $735.72                 GARCIA,	YURI             1        $23.81            GERVACIO,	LUISA         1       $309.11
         RUFFIN,	AZARI       0       $303.90            UGARTE,	SALVADOR              0        $79.04             APPIAH,	ISAAC          0        $81.68
       HAUSER,	RYAN	P        0        $85.47            NYANTAKYI,	GEORGE             0       $700.18         CASTILLO,	YOLANDA	G        0        $80.36
     MOSLEY,	MARLIN	G        0         $0.00             SLOWIK,	PATRICK	J            1        $53.90            TADROUS,	HANY           0       $195.07
      GARDEA,	MARIELA        0       $129.84              COOPER,	LYDIA	V             0       $150.79         AKWO,	GWENDOLENE           0       $199.47
        NAVA,	MARK	A         0        $85.83           WILLIAMS,	CHARLES	T            0       $154.69   GONZALEZ	MARTINEZ,	EDUARDO       0       $345.91
     TORRES,	FABIOLA	A       0       $128.24             TILLERY,	EARNEST	L           0       $301.88            YOUNUS,	NASEER          0        $46.39
MOLINA	ROMERO,	ROSA	M        0       $203.43            GARNER,	CHELYNA	T             0         $3.35             VEGA,	GASPAR           0      $1,561.06
         SMITH,	CATHY        0       $241.44             WEBSTER,	TERRY	T             0       $134.42    MENDOZA	GONZALEZ,	MARIO         0      $1,489.76
     JANOUCH,	GEORGE         0       $118.58            SZADORSKI,	DAVID	J            0       $258.04      LARIOS	MONROY,	RAUL	M         0        $70.97
   GARDNER,	DEBORAH          0       $314.09              HAFF,	MELANIE	U             1         $0.86      ODAME	ASIEDU,	WILLIAM         0       $590.79
    DANIELS,	VENEDA	D        0         $6.67             ROGERS,	PORTIA	L             0       $207.22          AGYEMANG,	BERTHA          0       $747.66
 MCCLENTON,	DUSTINE	T        1       $393.56          SIMMONS,	ANTWON	D               1       $128.64       PEREZ	ALCARAZ,	MARIA	L       0       $105.97
   OCAMPO,	ALBERTO	C         0        $82.49              WILEY,	EDMON	D              0       $705.08          MESHESHA,	AREGA	B         0        $63.88
      POTTS,	DEONNA	C        0        $51.21              SLOANE,	ADAM	C              0         $1.61    DOMINGUEZ	LOPEZ,	EDSON	G        0        $73.35
  BURTON,	MAYLYNNE	L         0        $78.34             MCGEE,	CORDERO               0       $228.46              ZHENG,	MINLI          0       $218.97
       JACKSON,	MALIK        0         $1.55              CARREON,	JAIME              0       $425.14                 CE,	UK             0        $73.19
    UMANA,	ANDREW	F          0       $122.33           RIVERA,	J	GUADALUPE            0       $843.91       ROMO	LOMELI,	VICTOR	H        0         $5.56
        GALEANA,	JOSE        0       $403.51             CLARK,	MELANIE	F             1       $743.94            SANCHEZ,	JUAN	C         0       $675.45
         SILVA,	ORALIS       0       $299.18              HANDLON,	AMY	R              0       $215.72      LOPEZ	MARTINEZ,	FABIOLA       0       $279.13
       DOCTO,	JC	JON	P       0         $0.00            VILLANUEVA,	DANIEL            1       $372.44     BARON	MORALES,	ROSALBA         0         $0.18
MEJIA	MOLINA,	RODRIGO	A      0        $52.26        FREDENHAGEN,	NICHOLAS	J           0         $0.52    MENDOZA	GONZALEZ,	DANIEL        0       $260.71
     MERCADO,	ELODIA         0       $384.37           OSTIGUIN	JR,	ELEAZAR           0        $63.09        BETANCOURT,	MARIA	D         0       $531.11
     CERRITENO,	JUANA        0       $457.33                OREL,	ADAM	T              0       $132.81    CONTRERAS	LULE,	MARGARITA       0       $122.50




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        Name             Opt-In      Total            Name                Opt-In     Total                Name              Opt-In     Total
  WALSH,	CLARENCE	F        1        $65.46     WILLIAMS,	DOMINIC	C          0      $120.13    BARRIOS	SANCHEZ,	ANGELITA       0      $114.09
  CORRIGAN,	CYNTHIA        1      $1,008.40    PATTERSON,	DONNA	L           1      $461.77           PI,	GRAGORY	C            1      $158.78
TURNIPSEED,	GERALD	A       0         $3.00       KUSINSKI,	MARTIN           1      $752.32     VALADEZ	GALVAN,	PEDRO	L        0       $10.20
   JACKSON,	COREY	L        1        $73.58      BANKSTON,	LORNA	C           0        $3.02        ABDUL	REHMAN,	FNU           0       $54.30
    MICKLE,	ERICA	K        1        $14.91      ESHELMAN,	SEAN	M            0      $434.38      BAHENA	BAZA,	FERNANDO         0      $456.45
 SPRIGGS,	TERRENCE	L       1       $291.04    PUTHENVEETIL,	GEORGE	S        0       $13.90      CLAVEL	SAGUILAN,	SERGIO       1      $278.01
ESTRADA	SOLIS,	OSCAR	F     0       $172.49         OCHOA,	RITA              0      $296.52   BETANCOURT	MARTINEZ,	CECILIA     0      $201.11
    MANG,	SIMON	H          1       $118.77     PEREZ-JUAREZ,	JUAN	J         0      $409.37        ANSAH,	FREDERICK	O          0       $39.67




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